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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
PERRY CIRAULU et al.,
                                                                    ORDER
                                       Plaintiffs,
                                                                    14 Civ. 8659 (AKH)
            -against-

AMERICAN REALTY CAPITAL PROPERTIES,
INC., et al.,

                                       Defendants.
--------------------------------------------------------------- x
BERNARD PRIEVER et al.,

                                       Plaintiffs,

            -against-

AMERICAN REALTY CAPITAL PROPERTIES,
INC., et al.,
                                                                    14 Civ. 8668 (AKH)
                                        Defendants.
--------------------------------------------------------------- x
STUART RUBINSTEIN et al.,

                                        Plaintiffs,

            -against-

AMERICAN REALTY CAPITAL PROPERTIES,
INC., et al.,
                                                                    14 Civ. 8669 (AKH)
                                        Defendants.
--------------------------------------------------------------- x
KEVIN PATTON et al.,

                                        Plaintiffs,

             -against-

AMERICAN REALTY CAPITAL PROPERTIES,
INC., et al.,                                                       14 Civ. 8671 (AKH)

                                        Defendants.



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--------------------------------------------------------------- x
JAMES EDWARDS JR. et al.,

                                       Plaintiffs,

            -against-

AMERICAN REALTY CAPITAL PROPERTIES,
INC., et al.,
                                                                    14 Civ. 8721 (AKH)
                                       Defendants.
--------------------------------------------------------------- x
BERNEY HARRIS et al.,

                                       Plaintiffs,

            -against-

AMERICAN REALTY CAPITAL PROPERTIES,
INC., et al.,
                                                                    14 Civ. 8740 (AKH)
                                       Defendants.
--------------------------------------------------------------- x
SIMON ABADI et al.,

                                        Plaintiffs,

            -against-

AMERICAN REALTY CAPITAL PROPERTIES,
INC., et al.,                                                       14 Civ. 9006 (AKH)

                                         Defendants.
--------------------------------------------------------------- x
THE CITY OF TAMPA GENERAL EMPLOYEES
RETIREMENT FUND,

                                        Plaintiffs,

             -against-

AMERICAN REALTY CAPITAL PROPERTIES,                                 14 Civ. 10134 (AKH)
INC., et al.,

                                        Defendants.




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 --------------------------------------------------------------- x
 TEACHERS INSURANCE AND ANNUITY
 ASSOCIATION OF AMERICA, et al.,

                                         Plaintiffs,

             -against-

 AMERICAN REALTY CAPITAL PROPERTIES,                                 15 Civ. 421 (AKH)
 INC., et al.,

                                         Defendants.
 --------------------------------------------------------------- x
 JET CAPITAL MASTER FUND, L.P., et al.,

                                        Plaintiffs,

             -against-

 AMERICAN REALTY CAPITAL PROPERTIES,
 INC., et al.,                                                       15 Civ. 307 (AKH)

                                         Defendants.
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 As explained on the record at the February 10, 2015 status conference, the lead

plaintiff in the consolidated class action shall be the Teachers Insurance and Annuity Association

of America ("TIAA-CREF") and the lead counsel shall be Darren Robbins of the law firm of

Robbins, Geller, Rudman, and Dowd, LLP.

                 At the status conference, I also set the following briefing schedule for

Defendants' motion to dismiss the complaint pursuant to Fed. R. Civ. P. 12(b)(6).

                      1. Defendants' motion is due April 10, 2015.

                      2. Plaintiffs opposition is due May 15, 2015.

                      3. Defendants' reply is due June 3, 2015.




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               Plaintiff Jet Capital, although pursuing its case independently from the class, will

follow the same briefing schedule and shall coordinate with the lead counsel for the class so as

not to submit duplicative briefing.

               The Clerk shall consolidate the cases identified in the caption, with the exception

of 15 Civ. 307 (AKH), for pre-trial proceedings in the docket under the title In re American

Capital Realties Litigation, and assign an "me" docket number to the case. The "me" case shall

be the lead case, and the individual civil cases shall be consolidated as member cases in the "me"

case.

               SO ORDERED.

Dated:         February fL, 2015
               New York, New York                      ~~
                                                       ALIN          K. HELLERSTEIN
                                                             United States District Judge




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